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                             United States District Court
                                       for the
                             Southern District of Florida

 Securities and Exchange                 )
 Commission, Plaintiff,                  )
                                         )
                                           Civil Action No. 18- 25303-Civ-Scola
 v.                                      )
                                         )
 Jordan E Goodman, Defendant.            )
              Final Judgment as to Defendant Jordan E. Goodman
        The Securities and Exchange Commission having filed a Complaint and
 Defendant Jordan E. Goodman (“Defendant” or “Goodman”) having entered a
 general appearance; consented to the Court’s jurisdiction over Defendant and
 the subject matter of this action; consented to entry of this Final Judgment
 without admitting or denying the allegations of the Complaint (except as to
 jurisdiction and except as otherwise provided herein in paragraph IV); waived
 findings of fact and conclusions of law; and waived any right to appeal from
 this Final Judgment:
                                          I.
                          PERMANENT INJUNCTIVE RELIEF
                                          A.
              Section 5 of the Securities Act of 1933 (“Securities Act”)

       It is hereby ordered, adjudged, and decreed that Defendant is
 permanently restrained and enjoined from violating Section 5 of the Securities
 Act, 15 U.S.C. § 77e, by, directly or indirectly, in the absence of any applicable
 exemption:
      (a) Unless a registration statement is in effect as to a security, making use
          of any means or instruments of transportation or communication in
          interstate commerce or of the mails to sell such security through the use
          or medium of any prospectus or otherwise;
      (b) Unless a registration statement is in effect as to a security, carrying or
          causing to be carried through the mails or in interstate commerce, by
          any means or instruments of transportation, any such security for the
          purpose of sale or for delivery after sale; or

      (c) Making use of any means or instruments of transportation or
          communication in interstate commerce or of the mails to offer to sell or
          offer to buy through the use or medium of any prospectus or otherwise
          any security, unless a registration statement has been filed with the
          Commission as to such security, or while the registration statement is
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       the subject of a refusal order or stop order or (prior to the effective date
       of the registration statement) any public proceeding or examination
       under Section 8 of the Securities Act, 15 U.S.C. § 77h.
        It is further ordered, adjudged, and decreed that, as provided in
 Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also binds the
 following who receive actual notice of this Final Judgment by personal service
 or otherwise: (a) Defendant’s officers, agents, servants, employees, and
 attorneys; and (b) other persons in active concert or participation with
 Defendant or with anyone described in (a).
                                           B.
                          Section 17(b) of the Securities Act

       It is further ordered, adjudged, and decreed that Defendant is
 permanently restrained and enjoined from violating, directly or indirectly,
 Section 17(b) of the Securities Act, 15 U.S.C. § 77q(b), by using any means or
 instruments of transportation or communication in interstate commerce or by
 using the mails, to publish, give publicity to, or circulate any notice, circular,
 advertisement, newspaper, article, letter, investment service, or communication
 which, though not purporting to offer a security for sale, describes such
 security for a consideration received or to be received, directly or indirectly,
 from an issuer, underwriter, or dealer, without fully disclosing the receipt,
 whether past or prospective, of such consideration and the amount thereof.
        It is further ordered, adjudged, and decreed that, as provided in
 Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also binds the
 following who receive actual notice of this Final Judgment by personal service
 or otherwise: (a) Defendant’s officers, agents, servants, employees, and
 attorneys; and (b) other persons in active concert or participation with
 Defendant or with anyone described in (a).
                                         C.
  Section 15(a)(1) of the Securities Exchange Act of 1934 (“Exchange Act”)

        It is further ordered, adjudged, and decreed that Defendant is
 permanently restrained and enjoined from violating, directly or indirectly,
 Section 15(a)(1) of the Exchange Act, 15 U.S.C. § 78o(a)(1), by making use of
 any means or instrumentality of interstate commerce or of the mails and
 engaging in the business of effecting transactions in securities for the accounts
 of others, or inducing or effecting the purchase and sale of securities, while not
 registered with the Commission in accordance with the provisions of Section
 15(b) of the Exchange Act, or while not associated with a broker-dealer that
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 was so registered.
        It is further ordered, adjudged, and decreed that, as provided in
 Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also binds the
 following who receive actual notice of this Judgment by personal service or
 otherwise: (a) Defendant’s officers, agents, servants, employees, and attorneys;
 and (b) other persons in active concert or participation with Defendant or with
 anyone described in (a).
                                            II.

         DISGORGEMENT, PREJUDGMENT INTEREST AND CIVIL PENALTY

        It is further ordered, adjudged, and decreed that Defendant is liable
 for disgorgement of $2,299,250.15, representing profits gained as a result of
 the conduct alleged in the Complaint, together with prejudgment interest
 thereon in the amount of $315,850.37, and a civil penalty in the amount of
 $100,000 pursuant to Section 20(d) of the Securities Act [15 U.S.C. § 77t(d)]
 and Section 21(d)(3) of the Exchange Act, 15 U.S.C. § 78u(d)(3), for a total of
 $2,715,100.52.
        Defendant may transmit payment electronically to the Commission,
 which will provide detailed ACH transfer/Fedwire instructions upon request.
 Payment may also be made directly from a bank account via Pay.gov through
 the SEC website at http://www.sec.gov/about/offices/ofm.htm. Defendant
 may also pay by certified check, bank cashier’s check, or United States postal
 money order payable to the Securities and Exchange Commission, which shall
 be delivered or mailed to:
       Enterprise Services Center
       Accounts Receivable Branch
       6500 South MacArthur Boulevard
       Oklahoma City, OK 73169

 and shall be accompanied by a letter identifying the case title, civil action
 number, and name of this Court; Jordan E. Goodman as a defendant in this
 action; and specifying that payment is made pursuant to this Final Judgment.
        Defendant shall simultaneously transmit photocopies of evidence of
 payment and case identifying information to the Commission’s counsel in this
 action. By making this payment, Defendant relinquishes all legal and equitable
 right, title, and interest in such funds and no part of the funds shall be
 returned to Defendant.
        Defendant shall pay $100,000 within 3 days of the entry of the Final
 Judgment, and the balance within 14 days. The Commission may enforce the
 Court’s judgment for disgorgement and prejudgment interest by moving for civil
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 contempt (and/or through other collection procedures authorized by law) at
 any time after 14 days following entry of this Final Judgment. Defendant shall
 pay post judgment interest on any delinquent amounts pursuant to 28 U.S.C. §
 1961. The Commission shall hold the funds, together with any interest and
 income earned thereon (collectively, the “Fund”), pending further order of the
 Court.
        The Commission may propose a plan to distribute the Fund subject to
 the Court’s approval. Such a plan may provide that the Fund shall be
 distributed pursuant to the Fair Fund provisions of Section 308(a) of the
 Sarbanes-Oxley Act of 2002. The Court shall retain jurisdiction over the
 administration of any distribution of the Fund. If the Commission staff
 determines that the Fund will not be distributed, the Commission shall send
 the funds paid pursuant to this Final Judgment to the United States Treasury.
        Regardless of whether any such Fair Fund distribution is made, amounts
 ordered to be paid as civil penalties pursuant to this Judgment shall be treated
 as penalties paid to the government for all purposes, including all tax
 purposes. To preserve the deterrent effect of the civil penalty, Defendant shall
 not, after offset or reduction of any award of compensatory damages in any
 Related Investor Action based on Defendant’s payment of disgorgement in this
 action, argue that he is entitled to, nor shall he further benefit by, offset or
 reduction of such compensatory damages award by the amount of any part of
 Defendant’s payment of a civil penalty in this action (“Penalty Offset”). If the
 court in any Related Investor Action grants such a Penalty Offset, Defendant
 shall, within 30 days after entry of a final order granting the Penalty Offset,
 notify the Commission’s counsel in this action and pay the amount of the
 Penalty Offset to the United States Treasury or to a Fair Fund, as the
 Commission directs. Such a payment shall not be deemed an additional civil
 penalty and shall not be deemed to change the amount of the civil penalty
 imposed in this Judgment. For purposes of this paragraph, a “Related Investor
 Action” means a private damages action brought against Defendant by or on
 behalf of one or more investors based on substantially the same facts as
 alleged in the Complaint in this action.
                                           III.

                           INCORPORATION OF CONSENT

        It is further ordered, adjudged, and decreed that the Consent is
 incorporated herein with the same force and effect as if fully set forth herein,
 and that Defendant shall comply with all of the undertakings and agreements
 set forth therein.
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                                           IV.

                       BANKRUPTCY NONDISCHARGEABILITY
       It is further ordered, adjudged, and decreed that, solely for purposes
 of exceptions to discharge set forth in Section 523 of the Bankruptcy Code, 11
 U.S.C. §523, the allegations in the complaint are true and admitted by
 Defendant, and further, any debt for disgorgement, prejudgment interest, civil
 penalty or other amounts due by Defendant under this Final Judgment or any
 other judgment, order, consent order, decree or settlement agreement entered
 in connection with this proceeding, is a debt for the violation by Defendant of
 the federal securities laws or any regulation or order issued under such laws,
 as set forth in Section 523(a)(19) of the Bankruptcy Code, 11 U.S.C.
 §523(a)(19).
                                           V.
                            RETENTION OF JURISDICTION
       It is further ordered, adjudged, and decreed that this Court shall
 retain jurisdiction of this matter for the purposes of enforcing the terms of this
 Final Judgment.
       Done and ordered at Miami, Florida, on December 21, 2018.

                                             ________________________________
                                             Robert N. Scola, Jr.
                                             United States District Judge
